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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA


                                  CIVIL MINUTES



Date: June 9, 2022 (Time: 37 minutes)        JUDGE: Phyllis J. Hamilton

Case No:21-cv-09812-PJH
Case Name: Horti, et al. v. Nestle Healthcare Nutrition, Inc.


Attorney(s) for Plaintiff:       Nick Suciu, III; John Hunter Bryson
Attorney(s) for Defendant:       Timothy Loose


Deputy Clerk: Kelly Collins             Court Reporter: Lee-Anne Shortridge

                                  PROCEEDINGS

       Defendant's Motion to Dismiss-HELD via Zoom webinar. The Court takes the
matter under submission.




Order to be prepared by: [] Pl [] Def [X] Court



cc: chambers
